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                          IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF ARKANSAS
                                    WESTERN DIVISION

UNITED STATES OF AMERICA                                                         PLAINTIFF

VS.                                 4:11-CR-00122-02-BRW

JAMES MARSHALL                                                                 DEFENDANT

                                          ORDER

       Pending is the Prosecution’s Motion to Dismiss Count Three of the Indictment against

Defendant James Marshall (Doc. No. 57). Defendant has no objection.1

       Accordingly, the Motion is GRANTED, and Count Three of the Indictment against

Defendant James Marshall is DISMISSED.

       IT IS SO ORDERED this 9th day of May, 2013.



                                               /s/Billy Roy Wilson
                                         UNITED STATES DISTRICT JUDGE




       1
           Doc. No. 58.
